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Counsel for Plaintiffs

    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                   MONTANA - BUTTE DIVISION


 COTTONWOOD                               )
 ENVIRONMENTAL LAW CENTER;                )
 MONTANA RIVERS; and GALLATIN             ) Case No. 2:20-cv-00028-BMM
 WILDLIFE ASSOCIATION,                    )
                                          )
                 Plaintiffs,              )
      vs.                                 )               EXHIBIT 11
                                          )
 RON EDWARDS, in his official             )
 capacity as Manager of the Big Sky Water )
 and Sewer District; and BIG SKY          )
 WATER AND SEWER DISTRICT,                )
                                          )
                Defendants.               )
                                          )
                                          )
                                          )
                                          )
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               Resort Area
            Wastewater Analysis

                         Big Sky, MT


                        September 28, 2015




Prepared for:
MB MT Acquisition LLC



                                                        Prepared by:
                                                      WGM Group, Inc.
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I. EXECUTIVE SUMMARY
   WGM Group, Inc. was retained by MB MT Acquisition LLC to provide analysis and summary
   of current wastewater flows, as well as projected 20-year wastewater flows for Moonlight
   Basin Resort, Spanish Peaks Resort, Yellowstone Club, and Big Sky Resort, based on the
   Overall Development Plan (ODP). Reclamation and reuse options for wastewater were
   also reviewed to understand requirements for approval of such uses.

   As Moonlight Basin, Spanish Peaks, Yellowstone Club, and Big Sky Resort were planned and
   designed independent of one another by different developers and consultants, the facility
   descriptions and methods used for estimating wastewater generation are not consistent
   between the developments. Now with common ownership, estimating wastewater
   generation in a consistent manner for all developments will allow for direct comparison of
   treatment and disposal needs, simplify the analysis of alternatives, and offer an easy way
   to evaluate combined flows across the developments.

   WGM Group reviewed engineering reports supplied for Moonlight Basin, Spanish Peaks,
   and Yellowstone Club, as well as documents and data provided by the Big Sky County
   Water and Sewer District (BSCWSD). From these documents, we gleaned information on
   past wastewater flow projections, current flows, current treatment capacity, and DEQ
   approvals. In addition, WGM reviewed the August 2015 BSCWSD Master Plan Update,
   prepared by DOWL.

   As the project progressed, efforts shifted away from Big Sky Resort to focus on Moonlight
   Basin, Spanish Peaks, and Yellowstone Club. Preliminary wastewater generation numbers
   for Big Sky Resort were determined early in the process, but Big Sky Resort was ultimately
   excluded from final analysis and modeling. Preliminary Big Sky Resort numbers are
   included in this report for general comparison only.

   To project future wastewater flows, WGM Group work with representatives from each
   resort to develop a wastewater generation model. The model provides wastewater
   generation projections for a 20-year horizon, based on anticipated development rates and
   occupancy rates. In addition, the model depicts the current flow and limits of treatment
   and disposal. Wastewater generation is estimated at 86 gpcpd, based on historic area
   wastewater flows, as determined in the BSCWSD Master Plan Update.

   Current and future occupancy rates were established for Moonlight Basin, Spanish Peaks
   and Yellowstone Club based our review of available current occupancy rates and
   occupancy rates of established comparable resorts. Occupancy rates vary significantly by
   season, however it is anticipated that occupancy rates will increase in the non-winter
   months as the resort move towards year around attraction.




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Based on our analysis and wastewater generation model, we computed the full build-out
average day and annual flows for each of the three developments, which are shown in
Table 1.

 Table 1: Full Build-Out Wastewater Generation Estimates from WGM Group Model

                                                     Total Development                                       Total Development
                                                   Average Daily Flow (gpd)                                 Annual Volume (MGY)
         Moonlight Basin                                            310,558                                                   113.4
           Spanish Peaks                                            177,723                                                    64.9
        Yellowstone Club                                             64,020                                                    23.4
          Big Sky Resort*                                           192,701                                                    70.3
    *Big Sky Resort numbers are from a preliminary analysis and are included to provide a relative comparison but are not calculated using the updated method.




In general, the wastewater generation volumes from the updated model are lower than
volumes that were previously determined for each resort, with reductions of 13% for
Moonlight Basin, 18% for Spanish Peaks and 71% for Yellowstone Club. The reductions are
the result of including occupancy rates in the model, rather than typical wastewater
generation volumes based on number or units.

The results of the 20-year wastewater model are presented graphically showing limits of
current treatment and disposal for Moonlight Basin, Spanish Peaks and Yellowstone Club.
These graphs are shown in Section III F.

Available effluent disposal through golf course irrigation is reviewed with the wastewater
generation volumes from the new model. Several graphs were prepared that indicate
combinations of area wastewater generation and possible disposal locations. In general,
the existing golf courses do not require enough irrigation to dispose of the wastewater
anticipated with the full development of the resorts. These graphs are shown in Section
IIIG.

Attention is drawn to Section III I that provides a summary of important information and
thoughts from the wastewater analysis.

Recently updated DEQ regulations include new standards for water reclamation and reuse.
Standards are now provided for wastewater disposal through rapid infiltration to
groundwater and snow making. Either of these options would be beneficial to the Big Sky
area because they would allow disposal during winter months and greatly reduce the
amount of effluent storage and area that is needed for land application.




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II. INTRODUCTION
   WGM Group, Inc. was retained by MB MT Acquisition LLC to provide analysis and summary
   of current wastewater flows, as well as projected 20-year wastewater flows for Moonlight
   Basin Resort, Spanish Peaks Resort, Yellowstone Club, and Big Sky Resort, based on the
   Overall Development Plan (ODP). Tasks included obtaining development ODPs and
   previous wastewater generation estimates; providing current wastewater generation
   estimates and 20-year projections; identifying general areas for storage and discharge,
   irrigation/land application needs, and collection basins; and preparing a summary report.

   As the project progressed, efforts shifted away from Big Sky Resort to focus on Moonlight
   Basin, Spanish Peaks, and Yellowstone Club. Preliminary wastewater generation numbers
   for Big Sky Resort were determined early in the process, but Big Sky Resort was ultimately
   excluded from final analysis and modeling. Preliminary Big Sky Resort numbers are
   included in this report for general comparison only.




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III. WASTEWATER GENERATION PROJECTIONS
   The amount of wastewater generated depends on the type, size, and quantity of various
   facilities and the area population. Average flow estimates for various land uses can be
   obtained from a number of sources, including local or state regulations, federal guidelines,
   professional publications, and measurements from existing facilities. The average flow can
   vary depending on how a facility is defined and the source of estimated flows for each use.
   As a result, projected wastewater flows can vary between similar developments. As
   Moonlight Basin, Spanish Peaks, Yellowstone Club, and Big Sky Resort were planned and
   designed independent of one another by different developers and consultants, the facility
   descriptions and methods used for projecting future wastewater flows is not consistent
   between the developments.

   With a common ownership interest between the four developments, it will be beneficial to
   calculate wastewater flows in a consistent manner. To establish a common method of
   estimating flows, we reviewed relevant Montana Department of Environmental Quality
   (DEQ) regulations, past methods utilized for estimating flows for each development, the
   method utilized by the Big Sky County Water and Sewer District (BSCWSD), current
   measured flows for each development, current levels of development, and anticipated
   occupancy rates for each development.

   A.   DEQ Regulations
        Wastewater collection systems, pumping stations, and treatment and disposal
        facilities must meet the requirements of Circular DEQ-2, Design Standards for Public
        Sewage Systems. The following flows must be identified for the design year and used
        as a basis for the design of wastewater facilities.

         Design Average Flow – the average daily volume to be received for a continuous
            12-month period, expressed as a volume per unit time. For facilities having a
            critical seasonal high hydraulic loading period, the average flow must be based
            on the average flow during the seasonal period.
         Design Maximum Day Flow – the largest volume of flow to be received during a
            continuous 24-hour period, expressed as a volume per unit time.
         Design Peak Hour Flow – the largest volume of flow to be received during a one-
            hour period, expressed as a volume per unit time.
         Design Peak Instantaneous Flow – the instantaneous maximum flow rate to be
            received, expressed as a volume per unit time.
         Design Maximum Month Flow – the average daily flow received during the
            maximum calendar month or 30 consecutive days (whichever is greater),
            expressed as a volume per unit time.

        In areas of existing facilities, DEQ standards state that wastewater generation
        projections should to be based on existing flow data, taking into account seasonal
        variations in flow. The sizing of wastewater facilities receiving flows from new


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     wastewater collection systems must be based on an average daily flow of 100 gallons
     per capita plus wastewater flows from industrial plants and major institutional and
     commercial facilities.

     For new facilities (without existing flows), the peak hour flow is to be based on the
     following peaking factor formula:

                                                     √
                                 Peaking Factor =
                                                     √


     In addition to Circular DEQ-2, public sewer systems with subsurface treatment must
     meet the requirements of Circular DEQ-4, Montana Standards for Subsurface
     Wastewater Treatment Systems. While this circular typically applies to individual or
     community drainfields, it contains average flow values for various commercial facilities
     that are often used for wastewater flow generation calculations.

B.   Data Review
     WGM Group reviewed engineering reports supplied for Moonlight Basin, Spanish
     Peaks, and Yellowstone Club. In addition, we reviewed documents and data provided
     by the Big Sky County Water and Sewer District (BSCWSD), which provides sewer
     service for Big Sky Resort. From these documents, we were able to glean information
     on past wastewater flow projections, current flows, current treatment capacity, and
     DEQ approvals. A series of maps was created to graphically represent various aspects
     of our analysis. These maps are included in Appendix E.

     1.   Previous Wastewater Flow Projections
          The wastewater flow estimates calculated previously for Moonlight Basin, Spanish
          Peaks, and Yellowstone Club were based on anticipated development plans that
          identified residential, commercial, and recreation land uses. However, the
          average wastewater flow rates used for projections varied between the
          developments, depending on the reference data, land use descriptions, and
          assumptions that were made. Table 2 summarizes the varying information used
          previously, including the total average daily flow estimated for each
          development. A more detailed overview of the method previously used for each
          development is included in Appendix A.

                         Table 2: Previous Wastewater Generation Numbers
                               Assumed People per        Wastewater per       Total Average
                                 Residential Unit         Capita (gpd)       Daily Flow (gpd)
           Moonlight Basin              2-6                   100                 357,640
            Spanish Peaks              1 - 3.6                 82                 156,838
           Yellowstone Club             2.1                   100                 220,685



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2.   Current Measured Wastewater Flows
     Measured wastewater flows from 2013 were available for Moonlight Basin,
     Yellowstone Club, and the BSCWSD. Because Spanish Peaks and Big Sky Resort
     are connected to the BSCWSD, separate measured flows were not available for
     these two developments.

                    Table 3: Current Measured Wastewater Flows

                                              2013 Average Daily
                          Development
                                                  Flow (gpd)
                        Moonlight Basin              22,000
                        Yellowstone Club             16,285
                            BSCWSD                  310,904


     For all developments, seasonal high wastewater flows occur in the winter months
     – January, February, and March. Winter flows from the BSCWSD were reviewed
     from 2006-2013. This data was used to develop representative peaking factors
     for seasonal high wastewater flows. The BSCWSD data was chosen because it has
     been consistently collected over a wide range of years, offering an overall
     representation of developments in the area. Table 4 identifies the peaking
     factors that were determined based on the existing flow data included in
     Appendix B. The peaking factors were applied to the estimated average daily
     flows to determine values such as Design Average Flow, Design Maximum Day
     Flow, and Design Maximum Month Flow.

                          Table 4: Design Peaking Factors

                Design Values for Seasonal Flow         Peaking Factor
              Design Average Flow (Seasonal High)             1.27
                  Design Maximum Day Flow                     1.79
                 Design Maximum Month Flow                    1.33


3.   Current Wastewater Treatment Capacities and DEQ Approvals
     Since Moonlight Basin and Yellowstone Club each has an independent
     wastewater treatment facility, current treatment capacities and DEQ approvals
     were reviewed to determine current development limitations.

     Moonlight Basin’s wastewater treatment plant was approved by DEQ on May 19,
     2003 under E.Q. #02-2107. The treatment plant is approved for a full build-out
     average daily flow of 100,000 gallons per day (gpd). 13,359,000 gallons of storage


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      are approved in three effluent storage ponds and 16.4 acres are approved for
      irrigation. At full build-out, DEQ requires the abandonment of the existing
      trickling filter and infiltration cells originally approved under E.Q. #99-2426.

      Yellowstone Club’s original wastewater trickling filter was approved by DEQ for a
      capacity of 74,580 gpd. A new SBR treatment plant was recently approved under
      E.Q. #14-1891. This SBR plant will replace the original treatment system and is
      approved for an initial capacity of 50,000 gpd. The plant can be expanded in
      50,000-gpd phases to provide a total capacity of 200,000 gpd. A total of 101
      million gallons per year (MGY) of treated effluent is approved to be applied to the
      Yellowstone Club golf course for irrigation.

 4.   Big Sky County Water and Sewer District SFE Connection Method
      The BSCWSD method for estimating wastewater flows for new connections is
      outlined in Ordinance 97-1001. This ordinance was adopted in 1997 and has been
      updated several times. Estimated wastewater flows for new connections are
      determined based on the number of Single Family Equivalents (SFE) for each unit
      being connected to the system. SFEs are calculated based on the BSCWSD Single
      Family Equivalent Unit Conversion Schedule, which uses square footage for
      residential units and identifies various commercial uses.

 5.   Big Sky County Water and Sewer District Facility Plan Update
      The BSCWSD is currently working with DOWL, an engineering consulting firm, to
      update their wastewater master plan. A DOWL report titled “Wastewater System
      Master Plan Update for Big Sky County Water and Sewer District 363” and dated
      August 2015 was provided for our review.

      As part of the Master Plan update, DOWL conducted a review of historic
      wastewater flows, organic loading levels, and the number of SFEs within the
      district. Using the recorded organic loading levels at the BSCWSD wastewater
      treatment plant, an equivalent population within the district was determined for
      each month over the past several years. The equivalent population was then
      compared to the known number of SFEs to determine an average population per
      SFE. As anticipated, the equivalent population and the population per SFE vary,
      depending on the time of year. Population numbers are highest in the winter
      months, lowest in the spring and fall, and moderate in the summer. The
      population per SFE ranges from 0.3 to 1.5 people. These SFE numbers are lower
      than expected (as an example, the average population per unit for the town of Big
      Sky is 2.1 people per unit) because not all of the lodging units are used year-
      round. This varying range of people per SFE helps account for the varying
      occupancy rates within the district.

      Using the equivalent populations and actual wastewater flows within the district,
      the average wastewater generated per capita within the district was determined


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    to be 86 gpcpd, which includes 11.9 gpcpd for inflow and infiltration into the
    system. It was also determined that the average flow per SFE within the district is
    currently 26,500 gpy/SFE or 72.6 gpd/SFE.

      Table 5: BSCWSD Master Plan Update Wastewater Generation Rates

                 Average Daily Flow Per Person            86 gpcpd
                   Average Daily Flow Per SFE             72.6 gpd


    In projecting future wastewater flows, the BSCWSD’s update assumed occupancy
    rates would increase by 15 percent during the ski season and 20 percent during
    the remaining months. The District accounts for this increase in occupancy rate
    by increasing the number of people per SFE in in their full build-out calculation.
    Occupancy is discussed further in Section IIIC.

    The DOWL report references the 2001 agreement between that BSCWSD and
    area developers that provides the District the right to dispose of 160 MGY and
    store 130 MG of treated effluent on the Yellowstone Club and Spanish Peaks land.

    DOWL’s report provides updated estimates for wastewater disposal using the
    available irrigation land application. Utilizing the updated amount of irrigation
    disposal, a water balance model is provided that indicates at full build-out, if the
    BSCWSD utilized the 130 MG of storage on the Yellowstone Club and Spanish
    Peaks land, there would still be a storage shortage of 8.1 MG. Table 6 provides
    the updated golf course irrigation capacities from the DOWL report. These
    capacities are compared with disposal capacities determined by Moonlight Basin,
    Spanish Peaks and Yellowstone Club in Section IIIG.

             Table 6: BSCWSD Disposal Capacity Through Golf Course Irrigation
                                     (from DOWL report)

                                Prior Calculated Capacity
            Golf Course                                          Updated Capacity (MGY)
                                          (MGY)
    Meadow Village                        206*                            140-160
    Yellowstone Club                      76**                              22-28
    Spanish Peaks                       100.8**                             20-30
    Total                                 382.8                           182-218
                * Per DEQ approval
                ** Based on design reports




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C.    Estimated Occupancy Rates
      Occupancy is a critical factor in predicting wastewater flows, and must be viewed in
      addition to development rates to get a complete picture. While the development rate
      indicates the rate at which units will be built (often referred to as growth rate), the
      occupancy rate demonstrates how much a unit is utilized at any particular time. We
      expect development rates to continue to increase throughout the development
      period, but occupancy rates are expected to reach a relatively constant level once
      each development has established its full complement of uses. New facilities or
      amenities may make a resort more desirable to visit and thus increase the occupancy
      rate, but occupancy rate typically does not increase with the addition of units alone.

      Because the developments are generally recreational resorts, occupancy has a wide
      seasonal variation – highest in the winter, lowest in the spring and fall. As the
      developments become more established and focus on year-round recreational
      opportunities, occupancy rates will become more consistent throughout the year.

      Current occupancy rates were estimated for each development based on data
      provided. Moonlight Basin’s current (2015) occupancy was estimated from actual
      occupancy data provided for 2006/2007. Similarly, Yellowstone Club provided
      2014/2015 occupancy information that was used to establish current values. As no
      actual data was provided for Spanish Peaks, occupancy was estimated to be similar
      but slightly lower than Moonlight Basin. Table 7 lists the 2015 average occupancy
      rates by month for each development.

                  Table 7: 2015 Estimated Occupancy Rates in Percent
                                  Moonlight       Spanish       Yellowstone
                                   Basin           Peaks            Club
              January               48              39               22
              February              48              39               27
              March                 48              39               24
              April                  2               5                9
              May                    2               2                1
              June                   7               5                4
              July                   7              15               15
              August                 7              10               17
              September              5              10               10
              October                2               5                2
              November              30              10                5
              December              48              35               28
              Annual Average         21%            18%             14%




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 With current occupancy established, efforts were focused on estimating occupancy
 rates once each development has fully established its year-round uses. For all
 developments, this established occupancy rate is expected in approximately ten years,
 in 2025. We looked at comparable resorts to glean occupancy information for more
 established areas. Ten years of average occupancy data was obtained for Aspen and
 Vail in Colorado, Jackson Hole in Wyoming, and Park City in Utah. For our analysis, we
 used the four years of occupancy data between 2011 and 2014. Over this period,
 Aspen, Vail, and Jackson Hole had an annual average occupancy rate near 50%, while
 Park City was at 35%. In addition to reviewing comparable resort data, a 2008 report
 for Moonlight Basin was reviewed that provided anticipated occupancy rates at full
 build-out. Based on the 2008 Moonlight Basin report and rates from other resort
 areas, monthly average occupancy rates for 2025 were estimated for Moonlight Basin,
 Spanish Peaks, and Yellowstone Club. Data utilized for these estimates is included in
 Appendix D.

 As with current occupancy rates, 2025 established occupancy for Moonlight Basin was
 the highest of the three developments. Spanish Peak rates were assumed to be
 slightly lower than Moonlight Basin, and Yellowstone Club was estimated to be much
 lower due to the private nature of the development. Table 8 lists the estimated,
 monthly 2025 occupancy rates for each of the developments.

     Table 8: Estimated Established Occupancy Rates (2025) in Percent
                             Moonlight        Spanish      Yellowstone
                              Basin            Peaks           Club
         January               70               65              30
         February              70               65              30
         March                 70               65              25
         April                 30               30              10
         May                   20               15               5
         June                  50               30              10
         July                  65               35              20
         August                60               50              20
         September             45               40              10
         October               35               30               5
         November              30               20               5
         December              60               60              30
         Annual Average         50%            42%             17%



 The DOWL BSCWSD Master Plan Update also included an assumption for increased
 occupancy rates in the area, assuming the rate within the District will increase by 15%
 during the ski season and 20% during the remainder of the year. To account for this


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    rate increase, DOWL increased the population per SFE for the full build-out
    calculations.

    The DOWL report accounted for occupancy rates by using a lower number of SFE per
    units (ranges of 0.574 to 1.536 in 2015), while this report calculated wastewater based
    on typical people per unit with a reduction in flow based on the anticipated
    occupancy. The DOWL report did not explain how the 15% and 20% increases were
    established. These values are much lower than the overall occupancy rate increases
    that were established for Moonlight Basin, Spanish Peaks and Yellowstone Club, which
    in some cases indicate occupancy rate increases of over 100%.

D. Updated Wastewater Projections
   Based on our review of previous wastewater estimates, current flows, and occupancy
   rates, a recommended method of estimating wastewater flows was developed that
   can be applied to Moonlight Basin, Spanish Peaks, and Yellowstone Club. This uniform
   method identifies wastewater projections for each development, but also provides an
   easy way to evaluate combined flows across the developments. Using this newly
   developed method, WGM Group created a wastewater generation model for use in
   projecting anticipated wastewater flows over the life of each development. The
   model starts with current wastewater flows and provides wastewater generation
   projections for a 20-year horizon, based on anticipated development rates and
   occupancy rates for each development.

    Wastewater generation for each resort was estimated based on the type of units,
    assumed population per unit, wastewater flow per capita, and estimated occupancy
    rates. Based on an assumed square footage for each unit, a number of bedrooms per
    unit was assumed and a consistent method was used to estimate the number of
    people per unit. As Moonlight Basin, Spanish Peaks, and Yellowstone Club are similar,
    seasonal developments to that of the BSCWSD, the BSCWSD average wastewater flow
    of 86 gpcpd was deemed applicable for all developments. Applying this per capita rate
    to the specific population per unit determined for Moonlight Basin, Spanish Peaks, and
    Yellowstone Club yields a wastewater flow per unit that is specific to each
    development’s lodging diversity. Finally, occupancy rates were applied to account for
    seasonal use variations. Model data in included in Appendix C.

    As an additional point of comparison, the BSCWSD’s method for determining Single
    Family Equivalents (SFEs) was applied to each resort. This allowed estimated annual
    flows in each development to be divided by the anticipated number of SFEs to arrive
    at an average flow per SFE. While the SFE values are not directly used in the
    wastewater model for Moonlight Basin, Spanish Peaks, and Yellowstone Club, they
    provide values that can be directly compared to the BSCWSD. Table 9 illustrates the
    full build-out average day and annual flows for each development, as obtained from
    our wastewater generation projection model.



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                             Table 9: Full Build-Out Wastewater Projections from WGM Group Model

                                                                              Full Build-Out                                         Full Build-Out
                                                                         Average Daily Flow (gpd)                                 Annual Volume (MGY)
                              Moonlight Basin                                            310,558                                                   113.4
                                Spanish Peaks                                            177,723                                                    64.9
                             Yellowstone Club                                              64,020                                                   23.4
                               Big Sky Resort*                                           192,701                                                    70.3
                         *Big Sky Resort numbers are from a preliminary analysis and are included to provide a relative comparison but are not calculated using the updated method.




                 Because the newly estimated projections take into account occupancy rates, these
                 values are lower than those previously estimated for each development. Table 10
                 compares the new estimates to previous estimates. While the difference is relatively
                 large, the updated numbers offer a more realistic projection.

                             Table 10: Updated Full Build-Out Wastewater Estimate vs Past Estimates

                                                           Past Estimate Average                                Updated Estimate           %
                                                              Daily Flow (gpd)                               Average Daily Flow (gpd) Difference
                     Moonlight Basin                                      357,640                                             310,558                                    -13%
                      Spanish Peaks                                       216,973                                             177,723                                    -18%
                     Yellowstone Club                                     220,685                                               64,020                                   -71%
                      *Big Sky Resort                                     258,077                                             192,701                                    -25%
                 *Big Sky Resort numbers are from a preliminary analysis and are included to provide a relative comparison but are not calculated using the updated method.




                 Using the factors developed from historic BSCWSD flows, seasonal flows were
                 estimated and are shown in Table 11. Seasonal high flows provide a complete picture
                 of the wastewater values that are typically used in designing wastewater facilities.
                            Table 11: Updated Seasonal High Wastewater Generation Flows
                 *
NOTE: Big Sky                                                  Annual                             Design                                                              Max
Resort                                                                                                                           Max Day Flow
numbers are                                                 Average Daily                      Average Daily                                                         Month
from a                                                                                                                              (gpd)
preliminary                                                  Flow (gpd)                         Flow (gpd)                                                         Flow (gpd)
analysis and
are included
to provide a         Moonlight Basin                              310,558                           394,408                            555,890                        413,042
relative
comparison
but are not
                      Spanish Peaks                               177,723                           225,708                            318,124                        236,372
calculated
using the            Yellowstone Club                              64,020                             81,305                           114,596                         85,147
updated
method.               Big Sky Resort*                             192,701                           244,730                            334,935                        256,292




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E.    Irrigation Disposal at Moonlight Basin, Spanish Peaks and Yellowstone Club
      Land application of treated wastewater effluent is the only disposal means currently
      available in the Big Sky Area. Because of spring snow melt and relatively cool early fall
      months, actual irrigation needs for the golf courses have been found to be less than
      what has been approved by DEQ. In order to provide an accurate representation of
      the amount of treated effluent that can be applied to the Moonlight Basin, Spanish
      Peaks, and Yellowstone Club golf courses, actual irrigation numbers volumes were
      obtained from golf course personnel. These volumes are shown in Table 12. Disposal
      capacities on the Spanish Peaks and Yellowstone Club golf courses are substantially
      less than application rates that had been previously determined.

         Table 12: Anticipated Effluent Volume for Application on Golf Courses
                                    Volumes from Golf
                                     Course Personnel              Design
                                   Wet Year    Dry Year           Volumes
                                    (MGY)       (MGY)
             Moonlight Basin          20          52                 n/a
             Spanish Peaks             20           30               76
             Yellowstone Club          22           28               101


F.    20-Year Wastewater Projection Model
      Using the newly developed, method for computing wastewater generation, WGM
      Group developed a wastewater generation model for use in projecting anticipated
      wastewater flows over the life of each development. As we gathered information for
      each development, it became apparent that some of the development plans are
      currently be updated or revised. The goal of the wastewater generation model is to
      have a dynamic model that is easily updated with changes to the development plan,
      whether they are type of residential or commercial units or the rate that development
      occurs.

      The model provides wastewater generation projections for a 20-year horizon, based
      on the anticipated occupancy rates established in Section IIIC and the development
      rates provided for each development. In addition to wastewater generation, the
      model depicts the current flow and limits of treatment and disposal. Information
      derived from the model for each development is represented in graphically. The
      graphical representation of the model data indicates projected wastewater generation
      over time and when treatment and disposal limits may be reached.




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                                          1.     Moonlight Basin Wastewater Model
                                                 The Moonlight Basin wastewater projection model indicates that the
                                                 development will be nearing the capacity of the existing treatment plant around
                                                 2020 and the Moonlight Basin golf course only has irrigation disposal capacity for
                                                 roughly half of the overall development.



                                                      Moonlight Basin Wastewater Projection

                                       310,000


                                       260,000
Average Daily Flow (gallons per day)




                                       210,000


                                                                                                               Average Daily Flow
                                       160,000
                                                                                                               Treatment Plant Capacity

                                       110,000                                                                 Golf Course Irrigation Capacity
                                                                                                               (Wet Season)
                                                                                                               Golf Course Irrigation Capacity
                                        60,000                                                                 (Dry Season)



                                        10,000
                                              2015         2020         2025         2030        2035

                                                                  Development Year




                                                                                                                                       14
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                                          2.     Spanish Peaks Wastewater Model
                                                 The Spanish Peaks wastewater projection model indicates that the development
                                                 will reach the current treatment limit with the BSCWSD within the next five years.
                                                 Additional connections will be needed from the BSCWSD to provide further
                                                 treatment. Although Spanish Peaks is connected to the BSCWSD and effluent
                                                 disposal on the golf course will be through the District, the model indicates that in
                                                 the very near future, the golf course will not have enough capacity to dispose of
                                                 all treated effluent generated within the portion of the development that is
                                                 connected to the BSCWSD.



                                                        Spanish Peaks Wastewater Projection
                                       190,000

                                       170,000

                                       150,000
Average Daily Flow (gallons per day)




                                       130,000
                                                                                                                Average Daily Flow
                                       110,000
                                                                                                                Treatment Plant Capacity
                                        90,000
                                                                                                                Golf Course Irrigation Capacity
                                        70,000                                                                  (Wet Season)
                                                                                                                Golf Course Irrigation Capacity
                                        50,000                                                                  (Dry Season)

                                        30,000

                                        10,000
                                              2015          2020        2025           2030        2035

                                                                    Development Year




                                                                                                                                         15
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                                           3.     Yellowstone Club Wastewater Model
                                                  The Yellowstone Club wastewater projection model indicates that the next phase
                                                  of development may reach the treatment capacity of the existing treatment
                                                  plant. In dry years, the Yellowstone Club golf course has capacity to dispose of all
                                                  treated effluent, but would fall short in wet years.



                                                        Yellowstone Club Wastewater Projection
                                        250,000



                                        200,000                                                                Average Daily Flow


                                                                                                               WWTP Capacity - Phase 1
Average Daily Flow (gallons per day)




                                        150,000
                                                                                                               WWTP Capacity - Phase 2


                                                                                                               WWTP Capacity - Phase 3
                                        100,000
                                                                                                               WWTP Capacity - Phase 4


                                         50,000                                                                Golf Course Irrigation Capacity
                                                                                                               (Wet Season)
                                                                                                               Golf Course Irrigation Capacity
                                                                                                               (Dry Season)
                                                0
                                                 2015       2020         2025         2030        2035
                                                                   Development Year




                                       G. Wastewater Generation and Available Disposal
                                          Early discussions with MB MT Acquisition LLC touched on the idea of combining some
                                          or all of the wastewater systems between the four developments. Using the updated
                                          wastewater projections for 2035 (full build-out) and the anticipated volume of treated
                                          effluent that could be applied to the four golf courses, several scenarios were
                                          developed to offer a glimpse at how the developments work in isolation and in
                                          combination.




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 1.   Scenario #1
      The following chart depicts information for all four developments at full build-out
      in 2035, with Spanish Peaks and Big Sky Resort effluent generation represented
      by Big Sky County Water and Sewer District estimates. All four golf courses are
      depicted for disposal. This scenario demonstrates that regardless of wet or dry
      years, there is not enough capacity for effluent disposal for all of the
      developments.




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 2.   Scenario #2
      The following chart removes Big Sky Resort information from the previous
      scenario. It includes information for Spanish Peaks that was estimated through
      the use of the wastewater model. This scenario is intended to simulate the
      removal of Spanish Peaks from the Big Sky County Water and Sewer District
      (BSCWSD), so that Yellowstone Club, Moonlight Basin, and Spanish Peaks would
      provide their own wastewater collection and disposal. Estimates indicate that
      without the irrigation capacity of the Meadow Village Golf Course, there is not
      enough disposal capacity by 2035 for these three developments, regardless of
      wet or dry years.




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 3.   Scenario #3
      The following chart removes Moonlight Basin from the equation. Assuming
      Moonlight Basin’s wastewater system cannot be reasonably connected with the
      others, this scenario represents the current operating conditions for wastewater
      effluent disposal where the Yellowstone Club treatment plant provides effluent
      for the Yellowstone Club golf course and the BSCWSD has the ability to dispose of
      their effluent on the Yellowstone Club and Spanish Peaks golf courses. As was the
      case with previous scenarios, this situation demonstrates insufficient disposal
      capacity at full build-out regardless of wet or dry years.

      It should be noted that the disposal capacity for the Meadow Village golf course
      was taken from the 2015 DOWL BSCWSD Master Plan Update. DOWL noted that
      irrigation of the Meadow Village golf course is increasing nitrate and chloride
      levels in the West Fork. This may limit the volume of wastewater effluent that
      can be applied to the Meadow Village golf course and would change the total
      disposal volume capacity shown on the chart below.




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 4.   Wastewater Agreement with BSCWSD
      The following chart depicts the wastewater effluent disposal obligation of
      Yellowstone Club and Spanish Peaks per the March 29, 2001 agreement between
      the area developers and the BSCWSD. This agreement states that the District can
      dispose of up to 160 MGY of treated effluent on the development property.
      Assuming this volume would all be applied to Yellowstone Club and Spanish Peaks
      golf courses, golf course irrigation demand falls well short of the required
      amount.




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H. Seasonal Wastewater
   Due to the seasonal fluctuation of area population, wastewater generation varies
   widely from month by month. With the new model providing an anticipated
   occupancy rate for each month, wastewater general can be estimated at various times
   of the year. This will be import as water balance models are prepared that evaluate
   wastewater generation with disposal and determine necessary storage volumes. The
   graph below demonstrates season fluctuations in wastewater generation for current
   conditions at Moonlight Basin. Spanish Peaks and Yellowstone Club have a similar
   annual pattern.




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I.    Conclusions and Highlights
      This section highlights important information and offers concluding thoughts from the
      wastewater analysis.

      1.   Updated Wastewater Model
            Wastewater generation in the updated model is based on 86 gallons per
              capita, as established in the 2015 BSCWSD Master Plan Update. This value
              assumes an inflow and infiltration rate of 11.9 gpcpd, which was determined
              based on historic I/I rates in the BSCWSD during non-spring runoff months.
              This is assumed to be a value that would apply to Moonlight Basin and
              Yellowstone Club, as they have similar wastewater collection systems. If there
              is a known high rate of I/I in either of these systems, this number should be
              adjusted to account for those specific conditions.
            Seasonal wastewater flow is accounted for in the updated wastewater model
              and can be applied to future water balance to evaluate generation, disposal,
              and storage requirements.
            The wastewater model can be updated at any time to stay current with the
              development and occupancy rates of Moonlight Basin, Spanish Peaks, and
              Yellowstone Club.

      2.   BSCWSD Master Plan Update Report
            The BSCWSD is legally obligated to provide water and wastewater services for
              7,926.3 SFEs, through its subdivision review process. As of August 2014, the
              District has issued permits for 4,686 SFEs, leaving 3,240.3 SFEs for future
              connection. In addition, the District has an obligation to provide wastewater
              service to Lone Moose Meadows and Spanish Peaks through the March 29,
              2001 development agreement. This agreement specifies the connections
              from these developments shall not exceed 1,900 SFEs or an equivalent flow of
              80.86 MGY. At the current flow of 26,500 GPY per SFE, the 1,900 SFEs equate
              to 50.3 MGY. The BSCWSD Master Plan Update includes approximately 850
              additional connections for Lone Moose Meadows and Spanish Peaks to reach
              to total wastewater flow of 80.86 MGY.
            The BSCWSD Master Plan Updated report prepared by DOWL assumed the
              occupancy rate within the District will increase by 15% during the ski season
              and 20% during the remainder of the year. These values are much lower than
              the overall occupancy rate increases that were established for Moonlight
              Basin, Spanish Peaks, and Yellowstone Club, which in some cases indicate
              occupancy rate increases of over 100%.

      3.   Moonlight Basin
            The Moonlight Basin wastewater projection model indicates that the
             development will be nearing capacity of the existing treatment plant around
             the year 2020.



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         The Moonlight Basin golf course only has irrigation disposal capacity for
          roughly half of the overall development.

 4.   Spanish Peaks
       The Spanish Peaks wastewater projection model indicates that the
         development will reach the current treatment limit with the BSCWSD in the
         next five years. Additional connections will be needed from the BSCWSD to
         provide treatment beyond that date.
       Although Spanish Peaks is connected to the BSCWSD and effluent disposal on
         the golf course will be through the District, the model indicates that in the
         very near future, the golf course will not have enough capacity to dispose of
         all treated effluent generated within the portion of the development that is
         connected to the BSCWSD.

 5.   Yellowstone Club
       The Yellowstone Club wastewater projection model indicates that the next
          phase of development may reach the treatment capacity of the existing
          treatment plant.
       The Yellowstone golf course has capacity in dry years to dispose of all the
          treated effluent that is anticipated to be generated within the development.
          However, in wet years, there is a shortfall of 1.4 MGY.

 6.   Wastewater Effluent Storage and Disposal
       The actual disposal capacity through irrigation to the existing golf courses is
        substantial less than what has been previously estimate and/or approved.
        This is due to variations in the soil percolation rates, nitrogen uptake and
        irrigation period.
       The BSCWSD Master Plan update report includes a brief discussion of
        alternatives for wastewater disposal. These include subsurface disposal and
        disposal in the Jack Creek drainage by land application. This is similar to
        alternatives discussed with Moonlight Basin for disposing of effluent from that
        development.
       The BSCWSD Master Plan Update identifies the Yellowstone Club and Spanish
        Peaks golf courses as areas to dispose of 160 MG of treated effluent per year.
        According to golf course personnel, this is substantially higher than the
        volume of irrigation that can be actually applied.
       Disposal in the Jack Creek basin has been considered by both the BSCWSD and
        Moonlight Basin.




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IV. RECLAMATION AND REUSE
   Circular DEQ-2 was updated in October 2012 to include new standards for water
   reclamation and reuse. This document specifies standards for wastewater disposal
   through rapid infiltration to groundwater and snow making – disposal options to help
   address future wastewater for the resort developments.

   A. Reclaimed Wastewater for Irrigation
      The new standards in Circular DEQ-2, Chapter 120 relate to the controlled application
      of treated effluent to harvestable crops. The standards apply to complete crop uptake
      of nutrients with no impact to groundwater and surface water. To gain DEQ approval,
      an applicant must provide a change of appropriation or water right approved by the
      Department of Natural Resources and Conservation (DNRC), or submit a statement
      from DNRC that no approval is needed.

         Four classes of reclaimed wastewater are identified, each applying to different
         irrigation uses. The classes differ by the degree of additional treatment provided
         following secondary treatment. Treated wastewater to be used for golf course
         irrigation with unrestricted access must be treated to meet Class A requirements,
         which are shown in Table 13.

                                     Table 13: DEQ Class A
                           Reclaimed Wastewater Treatment Standards
                               BOD5                 < 10 mg/L
                                TSS                 < 10 mg/L
                                             < 2.2/ml (median 7-day)
                             Coliform
                                                 23/100 ml (max)
                           Buffer Zone                 None


   B.    Rapid Infiltration Systems
         Also included in Circular DEQ-2, Chapter 120 are standards for the use of rapid
         infiltration (RI) systems, which are utilized for the disposal of treated effluent to
         groundwater through either infiltration/percolation (I/P) basins or subsurface
         absorption cells. RI systems require a groundwater discharge permit from DEQ, unless
         an exemption applies. If the groundwater beneath the RI is hydrologically connected
         to surface water, the discharge will be considered the same as a surface water
         discharge and a Montana Pollutant Discharge Elimination System permit will be
         required.

         Treated wastewater effluent for subsurface absorption cells must meet the standards
         shown in Table 14.



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                             Table 14: DEQ Treatment Standards
                               for Subsurface Absorption Cells
                            BOD5                  < 10 mg/L
                             TSS                  < 10 mg/L
                          Turbidity                < 5NTU
                           Total N                 < 5 mg/L


      RI systems must not be within the 100-year floodplain and must be a minimum of 500
      feet from water supply wells. Soil investigation must be conducted for the proposed
      site at the actual depth in the soil profile intended for the RI system. Test pits and
      borings are required on all sites and infiltration and permeability tests must be
      conducted in-situ at the proposed site. A phosphorus break-through analysis must be
      performed for each major soil type within the site, including a phosphorous
      absorption test.

      Hydraulic loading rates for RI system are based on the field and laboratory test results
      for infiltration, permeability, hydraulic conductivity, and transmissivity for the
      intended site.

C.    Water Reclamation and Reuse Standards
      Circular DEQ-2, Appendix B addresses standards for allowable uses of reclaimed
      wastewater that are not included in Chapter 120. These uses include:
           Spray Irrigation of Nonfood Crops
           Drip or Subsurface Irrigation of Nonfood Crops
           Spray Irrigation of Food Crops
           Drip or Subsurface Irrigation of Food Crops
           Landscape Irrigation
           Impoundments
           Animal and Fish Operations
           Decorative Fountains
           Jetting and Flushing of Sanitary Sewers
           Street Cleaning and Washing Operations
           Dust Control and Soil Compaction/Consolidation
           Fire Fighting and Fire Protection Systems
           Toilet and Urinal Flushing
           Washing Aggregate and Concrete Batching Operations
           Industrial Uses
           Aquifer Recharge
           Aquifer Injection
           Indirect Potable Reuse



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           Stream Flow Augmentation
           Snow Making

    For Moonlight Basin, Spanish Peaks, and Yellowstone Club, reuse/reclamation
    alternatives must allow for the disposal of large quantities of wastewater. The most
    promising options include golf course irrigation, snow making, and aquifer recharge.
    The use any of these options, wastewater must meet Class A-1 requirements prior to
    application.

D. Findings
   Reclamation and reuse will key components in addressing the future wastewater
   disposal shortage for the developments. Providing a viable way of effluent disposal
   during the winter months will solve the two major issues related to disposal: 1) the
   existing golf courses do not have the capacity to disposal of all of the future
   wastewater through irrigation; 2) future storage volumes would be unmanageable.
   The most likely methods of winter effluent disposal are snow making and rapid
   infiltration. Both methods are DEQ-permitted reclamation uses.

    Two potential areas for rapid infiltration are shown on the Wastewater Disposal Plan
    included in Appendix E. One area is within the Gallatin Drainage, which was previously
    identified as part of the PER for the Canyon Area. Initial estimates indicate disposal
    capacity in this area may be 75 MGY. While this volume addresses the entire
    projected shortage for the developments, it may be considered in conjunction with
    other methods of disposal.

    The second area for rapid infiltration is in the Madison Valley, along Jack Creek. The
    Natural Resources Conservation Service (NRCS) identifies most of the soils in this area
    of the Madison Valley as “very limited” for rapid infiltration due to slow water
    movement through the soil. However, there is an area identified as Kalsted sandy
    loam with 2 to 8 percent slope that is listed as “somewhat limited,” which may
    provide for rapid infiltration disposal. If this area is viable, a water rights investigation
    will be needed to determine if groundwater from the Gallatin drainage can be
    disposed in the Madison drainage.

    Snow making continues to be a likely method of large-volume disposal. With the
    existing treated wastewater storage at Yellowstone Club and the likelihood of treated
    storage at Spanish Peaks, these two areas would be ideal for a pilot snow making
    program to test the quality of the snow, as well as spring snow melt.




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